                     Case 24-12590           Doc 1       Filed 08/27/24 Entered 08/27/24 15:27:49                              Desc Main
                                                           Document     Page 1 of 26

Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Redline Metals, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  930 North DuPage
                                  Lombard, IL 60148
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                   Case 24-12590                 Doc 1      Filed 08/27/24 Entered 08/27/24 15:27:49                                    Desc Main
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Debtor    Redline Metals, Inc.                                                                         Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3339

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known



 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                 Case 24-12590               Doc 1        Filed 08/27/24 Entered 08/27/24 15:27:49                                 Desc Main
                                                            Document     Page 3 of 26
Debtor   Redline Metals, Inc.                                                                      Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Redline Metals, Inc.                                                                      Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       August 27, 2024
                                                  MM / DD / YYYY


                             X /s/ David Wong                                                             David Wong
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Paul M. Bach                                                            Date    August 27, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Paul M. Bach
                                 Printed name

                                 Bach Law Offices
                                 Firm name

                                 P.O. Box 1285
                                 Northbrook, IL 60065
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      paul@bachoffices.com

                                  IL
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Redline Metals, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           August 27, 2024                        X /s/ David Wong
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Wong
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Fill in this information to identify the case:
 Debtor name Redline Metals, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                ILLINOIS, EASTERN DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 631821 Target Metal                                                                                                                                                      $79,871.00
 Blanking
 P.O. Box 63182
 Cincinnati, OH 45263
 B & B Metal                                                                                                                                                            $301,610.00
 Processing
 14520 Pioneer Road
 Newton, WI 53063
 Charter Steel Trading                                                                                                                                                    $96,064.00
 4401 W. Roosevelt
 Road
 Chicago, IL 60624
 Chase                                                                                                                                                                  $108,931.00
 Cardmember
 Services
 PO Box 1423
 Charlotte, NC
 28201-1423
 Davis BanCorp                                                                                                                                                            $90,000.00

 IGT Logistics Inc                                                                                                                                                        $81,530.00
 PO BOX 94565
 Cleveland, OH 44101
 IMS Buhrke-Olson                                                                                                                                                         $80,816.00
 511 W. Algonquin
 Road
 Arlington Heights, IL
 60005-4499
 IMS Engineered                                                                                                                                                         $235,530.00
 Products
 1 Innovation Dr.
 Des Plaines, IL 60016
 Laser Center                                                                                                                                                           $133,124.00
 1001 Morse Ave
 Schaumburg, IL
 60193



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Redline Metals, Inc.                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 M&K National Lease                                                                                                                                                     $159,048.00
 P.O. Box 268
 Byron Center, MI
 49315
 McLean - Fogg                                                                          Disputed                                                                      $1,132,132.63
 Component Solutions
 LLC
 C/O FactorLaw
 105 W. Madison St.,
 Suite 2300
 Chicago, IL 60602
 Oberg Freight                                                                                                                                                          $144,181.00
 22153 Old Highway
 169
 Fort Dodge, IA 50501
 ODM Tool &                                                                                                                                                               $81,232.00
 Manufacturing
 9550 Joliet Road
 McCook, IL 60525
 Panzerz Recycling                                                                                                                                                      $322,106.00
 W5865 County Line
 Road
 Elkhart Lake, WI
 53020
 Silgan Containers                                                                                                                                                    $1,608,978.00
 LLC
 3709 Collections
 Center Drive
 Chicago, IL 60693
 Silgan Containers                                                                                                                                                      $366,026.00
 LLC
 3709 Collections
 Center Drive
 Chicago, IL 60693
 Stateline Recycling,                                                                                                                                                   $176,311.00
 Inc.
 322 S. Crosby Ave
 Janesville, WI 53548
 Sycamore Creek                                                                         Disputed                                                                          $78,931.06
 Trucking
 3009 Wisconsin St.
 Le Claire, IA 52753
 TRM Trucking                                                                                                                                                             $88,383.00
 800 Bowes Rd
 South Elgin, IL 60177
 Warren Oil Co. Inc                                                                                                                                                       $96,548.00
 PO Box 2279
 Hammond, IN 46323




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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   YNvnÿUQÿyGÿ{vUXvDÿQDGÿxGNFÿTGwQFGÿUXGÿwv|vD}ÿQwÿUXGÿYGUvUvQDÿvDÿTNDqFgYUuxtÿQFÿN}FGGnÿUQÿTGÿYNvnÿUQÿyGtÿwQFÿOGFzvuGOÿFGDnGFGnÿQFÿUQÿTGÿFGDnGFGnÿQDÿ
   TGXN|wÿQwÿUXGÿnGTUQFVOWÿvDÿuQDUGyY|NUvQDÿQwÿQFÿvDÿuQDDGuUvQDÿ{vUXÿUXGÿTNDqFgYUuxÿuNOGÿvOÿNOÿwQ||Q{O~
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        pN|NDuGÿSgGRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRR 
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kR XGÿOQgFuGÿQwÿuQyYGDONUvQDÿUQÿTGÿYNvnÿUQÿyGÿvO~ÿ
       ÿ SGTUQF                 UXGFÿVOYGuvwxW~
 R CÿXNzGÿDQUÿN}FGGnÿUQÿOXNFGÿUXGÿNTQzGnvOu|QOGnÿuQyYGDONUvQDÿ{vUXÿNDxÿQUXGFÿYGFOQDÿgD|GOOÿUXGxÿNFGÿyGyTGFOÿNDnÿNOOQuvNUGOÿQwÿyxÿ|N{ÿwvFyR
       CÿXNzGÿN}FGGnÿUQÿOXNFGÿUXGÿNTQzGnvOu|QOGnÿuQyYGDONUvQDÿ{vUXÿNÿYGFOQDÿQFÿYGFOQDOÿ{XQÿNFGÿDQUÿyGyTGFOÿQFÿNOOQuvNUGOÿQwÿyxÿ|N{ÿwvFyRÿÿÿuQYxÿ
       QwÿUXGÿN}FGGyGDUtÿUQ}GUXGFÿ{vUXÿNÿ|vOUÿQwÿUXGÿDNyGOÿQwÿUXGÿYGQY|GÿOXNFvD}ÿvDÿUXGÿuQyYGDONUvQDÿvOÿNUUNuXGnRÿ
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     Penelope N. Bach                                                                              Paul M. Bach
     •pnbach@bachoffices.com                                                                paul@bachoffices.com




                                         Chapter 11 Retainer Agreement


Dated: August 26, 2024

David Wong
Redline Metals, Inc
930 N. DuPage Avenue
Lombard, IL 60148

         Re:     Chapter 11 Bankruptcy Representation


Dear Mr. Wong:

Bach Law Offices, Inc. (“We” or the “Firm”) is honored that you have selected us to represent Redline Metals, Inc.
(“Client”) as insolvency and bankruptcy counsel. Our objective is to provide high quality legal services to Redline
Metals, Inc. at a fair and reasonable cost. This letter (“Agreement”) outlines the basis upon which we will provide
legal services to Redline Metals, Inc., and confirms our understanding with respect to payment of legal fees, costs
and expenses incurred with such representation. We apologize for the formality of this agreement, but we believe
that it is important for you to have a clear understanding of our policies regarding legal fees and costs from the
beginning of our relationship. Moreover, many of the provisions of this letter are required or recommended by the
Illinois State Bar and the Illinois Rules of Professional Responsibility.

1.      Scope of Services; Client Duties. Redline Metals, Inc. is hiring us as attorneys to represent them as
bankruptcy counsel in a Chapter 11 case. We will keep you informed of the progress of the case and will be
available to you to answer any questions you might have. If at any time you determine that Redline Metals, Inc.
needs to file a Chapter 7 bankruptcy case instead of the Chapter 11 case, the parties will need to execute a new fee
agreement setting forth the terms of such representation. If you elect to convert the Chapter 11 case to a Chapter 7
case, then we shall be under no duty to prepare and file the necessary court papers until the new fee agreement has
been signed and the agreed upon fees paid.

2.       Assumptions under this agreement.
         a.   You have provided all requested information.
         b.   You have provided complete and accurate information.
         c.   Your circumstances, especially your current monthly income (as defined by the Bankruptcy Code)
              does not substantially change prior to the filing of the case.
         d.   You will provide all requested documents within 15 days of the date of this Agreement.




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  Penelope N. Bach                                                                                  Paul M. Bach
  •pnbach@bachoffices.com                                                                    paul@bachoffices.com




3.     Retainer. For us to begin our representation, you agree to forward a retainer in the total amount $15,000.00.
The total $15,000.00 of the retainer is due prior to the Chapter 11 being filed. This retainer will be deposited in our
attorney business account but we may use these funds, up to the full $15,000.00 to pay our fees and costs, subject to
Court approval of any fees or costs incurred after your case is filed.

Under the 2007 Illinois Supreme Court case of Dowling v. Chicago Options Assoc., Inc. we are required to make
certain disclosures to you about the retainer you would be paying pursuant to the above paragraph. The retainer is
called an “Advanced Payment” Retainer. The Advance Payment Retainer means that the payments made by Client
to Attorney are present payment to us in exchange for our commitment to provide legal services to you in the
future. The fees paid by the Client will be deposited in our business account and not in our trust account. This
means that we own the fees immediately upon payment. If our representation of Client ends before the retainer is
exhausted, the retainer is subject to refund to you pursuant to the Illinois Rule of Professional Conduct.

Any unused portion of the retainer at the conclusion of our representation will be refunded to Redline Metals, Inc.
or the party who advanced it.

4.      Legal Fees and Billing Practices. Professional fees charged reflect a number of factors, including the
number of attorney hours incurred, the relative experience of the attorney(s) performing the services, the difficulty
of the matter, and the results obtained for the client. Our professional fees are determined by multiplying the actual
number of hours incurred by the hourly billing rate. From time to time, our hourly billing rates will change. We will
notify you of any changes in the firm’s hourly rate structure. Our minimum billing unit is one-tenth of an hour, and
services will be recorded and billed in tenths of an hour increments.

We will charge Redline Metals, Inc. for all activities undertaken in providing legal services to Redline Metals, Inc.
under this Agreement, including but not limited to the following: conferences, including preparation and
participation; preparation and review of correspondence, email and other documents; legal research and analysis;
court and other appearances, including preparation and participation; and communications, including email,
telephone, facsimile, in-person and other communications with you, other attorneys or persons involved with this
matter, governmental agencies and any other party or person contact with whom is advisable for our representation.
The legal personnel assigned to this matter may confer among themselves about the matter, as required. When they
do confer, each will charge for the time expended. If more than one of our legal personnel attends a meeting, court
hearing or other proceeding, each will charge for the time spent only if it is necessary in our judgment to have two
or more personnel at the meeting, hearing or proceeding. We charge for waiting and portal-to-portal travel time,
both local and out of town.

Currently our hourly rates range from $125.00 per hour for paralegals/legal assistants to $425.00 for lawyers.
Redline Metals, Inc. agrees to pay our fees and costs based upon our then prevailing hourly rates and charges at the
time the services are rendered.




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  Penelope N. Bach                                                                                 Paul M. Bach
  •pnbach@bachoffices.com                                                                   paul@bachoffices.com




You hereby authorize the secure destruction of your file seven years after it is closed, and agree that we shall have
no liability for destroying any records, documents, or exhibits still in our possession at the end of five years. All
future work for Redline Metals, Inc. in other matters will be handled in accordance with this Agreement at our
regular hourly rates unless otherwise agreed upon.

5.      Costs and Other Charges. We will incur various costs and expenses in the normal course of performing
legal services under this Agreement. Costs and expenses commonly include filing and recordation fees, court
reporters’ fees, computer legal research, messenger and other delivery services, postage, parking and other local
travel expenses, telecopying, photocopying and other reproduction costs. You agree to pay transportation, meals,
lodging and all other costs of any necessary travel by our personnel. Redline Metals, Inc. will be charged the
hourly rates for the time we spend traveling, both local and out of town. Redline Metals, Inc. also agrees to pay for
charges such as expert witness fees, title insurance fees, consultant and investigator fees, and the like. Photocopying
is currently billed at $0.05 per page, and motor travel at IRS standards. The Chapter 11 filing fee is $1,717.00,
which will be paid as part of the initial retainer. The firm reserves the right to require that certain costs, such as
travel expenses, expert witness fees and deposition transcripts, be paid in advance directly by the client, or be paid
into escrow before such costs are incurred.


6.     Billing Statements. Once your case has been filed, we will file a motion in the Bankruptcy Court for
approval of our fees for services based on time and expenses up until the date of filing the Motion. We will always
send you a copy of this motion with a detailed itemization of all fees and costs incurred and the basis for the fees
and costs.

Upon Court approval of these fees, we will send you an itemized statement indicating fees and costs incurred and
their basis, any amounts applied from the retainer, and any current balance owed, as well as any deductions
requested by the Court if any. This billing statement will list the professionals who worked on your matter for that
billing period with their hourly billing rates.

Should you have any questions concerning any statement, we encourage you to discuss them with us prior to the
Court date listed on the Motion for Fees so that we may have an opportunity to resolve any misunderstandings in a
mutually agreeable manner.

Any fees or costs due after application of your retainer, as determined by the Court and after approval of a fee
application and notice to you, must be paid promptly.

Payment of fees and costs shall be made upon receipt of orders approving fees (or, after confirmation of your plan,
upon receipt of invoices therefore), with payment received in our office no later than 5 days after the date of the
order or invoice.




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  Penelope N. Bach                                                                                  Paul M. Bach
  •pnbach@bachoffices.com                                                                    paul@bachoffices.com




7.      Chapter 11 Filing. The ultimate fees to be awarded the Firm for its representation of Redline Metals, Inc.
in the Chapter 11 case must be approved by the Bankruptcy Court. Interim applications for compensation and
reimbursement of expenses will be filed by the Firm with the Bankruptcy Court to obtain authorization for further
payment. Generally, interim applications are made on a quarterly basis, but may be submitted more often. Redline
Metals, Inc. agrees to pay any award of compensation upon the entry of a Court order authorizing such award.

Redline Metals, Inc. agrees that you shall perform fully and conscientiously all the duties of a Debtor and Debtor-
in-Possession under the Bankruptcy Code, and shall timely comply with all reasonable requests for information or
reports by the U.S. Trustee, any Creditor’s Committee, and the Firm. These duties may include, but are not limited
to, gathering and reviewing all of the information necessary for filing a complete and accurate list of all assets,
creditors, budget, a schedule of executory contracts and unexpired leases, the Statement of Financial Affairs, and
the Statement of Current Income and Expenses. You acknowledge having received a Questionnaire assisting the
Firm in completing such documents, and agrees to timely, completely, and accurately complete the Questionnaire.

If during the course of the bankruptcy you wish to sell, refinance or pledge as security real property or any of your
other assets, you must let us know so that we can ask the Court for approval. If you do not do this, the property or
asset may not be able to be legally transferred, refinanced or pledged, which can cause significant problems both
with the transaction and with your bankruptcy case. You must provide us with a copy of the listing agreement
and/or contract for sale of the property before such document is signed by you.

Some debts, such as student loans, domestic support obligations (alimony, child support arrearages, etc.) and certain
taxes, may not be dischargeable in your case. Liens, such as security interests, homeowner’s liens and mortgages,
may not released upon your confirmation, and you may need to make arrangements for the payment of such debts
or surrender the property securing them after the conclusion of your case. Post-petition/pre-foreclosure
homeowner’s and condominium association charges are not discharged. You have been advised to close or draw
down any financial account at an entity to which you owe or may owe money.

You authorize us to obtain information about your assets, credit (including credit reports), taxes, debts, income,
expenses and other public and non-public information that may be used to verify and ensure the completeness of the
information you provide to us. Such information may not be comprehensive or complete. It is obtained for
background information and to aid our verification only. We will prepare your bankruptcy filings based upon
information supplied by you. We will rely upon this information as being true, accurate, complete and correct. It is
your responsibility to disclose your ownership or interest in and prior ownership or interest in all assets, regardless
of value, and all debts and claims, regardless of amount. If a creditor is not listed, the debt to such creditor may not
be discharged. If false, incorrect or incomplete information is included, or information is omitted, it can cause you
additional effort and expense to remedy the error, may place the bankruptcy itself in jeopardy and could result in
civil or criminal liability. It is vitally important that the information included in the bankruptcy schedules be
complete and correct to avoid any problems. You will review all documents filed as part of your bankruptcy case,
and your signature on those documents signifies that you have read and understood them, and agree with their




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  Penelope N. Bach                                                                                   Paul M. Bach
  •pnbach@bachoffices.com                                                                     paul@bachoffices.com




contents. In cases of joint representation of spouses, communication with one spouse will be deemed
communication with both spouses. We may disclose to both spouses any facts disclosed by either spouse.

You must preserve all records and documents related in any way to this matter, including all electronic documents
and data.

After your case is filed, unless otherwise instructed by this office, you must pay all taxes incurred after the date of
filing (and file all necessary tax returns), maintain any required insurance, file all required monthly reports, pay
quarterly U.S. Trustee fees and any adequate protection payments, and make all payments called for under your
plan, once confirmed. Failure to do so may result in dismissal or conversion of your bankruptcy or sale of your
property.

If during the course of the bankruptcy you wish to sell, refinance or pledge as security real property or any of your
other assets, you must let us know so that we can ask the Court for approval. If you do not do this, the property or
asset may not be able to be legally transferred, refinanced or pledged, which can cause significant problems both
with the transaction and with your bankruptcy case. You must provide us with a copy of the listing agreement
and/or contract for sale of the property before such document is signed by you.

8.     Discharge and Withdrawal. You may discharge us at any time and we may withdraw from your
representation after approval by the Court. Reasons for our withdrawal may include, but are not limited to, your
breach of this Agreement, your failure to pay our bills as they become due, your refusal to cooperate with us or
follow our advice on a material matter, or any fact or circumstance that would render our continuing representation
of you unlawful, unethical or impracticable.

Upon cessation of our active involvement in any particular matter, even if we continue to represent you in other
matters, we will have no duty to inform you of future developments, deadlines or changes in the law.

9.      Disclaimer of Guarantee; Risks. Nothing in this Agreement should be construed as a promise or guarantee
about the outcome of any matter that we are handling on your behalf. Our comments about the outcome of matters
pertaining to you are expressions of opinion only. There are risks in filing for bankruptcy, including the possible
liquidation or loss of property. You also understand that the bankruptcy law is subject to different interpretations
and that there are inherent risks in how Courts will apply various provisions. In a Chapter 11 you cannot dismiss
your case without prior Court approval, and the case can be converted to Chapter 7 without your approval. Since
approval of a Chapter 11 plan requires the consent of creditors, no guarantees or representations are made as to
whether such approval will or can be obtained.

10.     Entire Agreement. This letter contains all of the terms of the agreement between us applicable to our
representation and may not be modified except by a written agreement signed by both of us. There are no promises,
terms, conditions or obligations applicable to our representation hereunder, except as expressly set forth in this




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  Penelope N. Bach                                                                                Paul M. Bach
  •pnbach@bachoffices.com                                                                  paul@bachoffices.com




Agreement, and the terms hereof supersede any previous oral or written agreements between us with respect to our
representation hereunder.

11.     Effective Date. Please confirm that this letter accurately reflects our agreement, and that you understand
and waive any potential conflicts of interest, by signing the duplicate copy of this Agreement and returning it to us
along with your retainer amount stated above. The representation covered by this Agreement commences only upon
the receipt by this office of such items.

If you have any questions concerning the provisions of this Agreement, please do not hesitate to call me. We look
forward to the privilege of working with you.


                                                    Very truly yours,



                                                    Paul M. Bach, Esq.


UNDERSTOOD AND AGREED TO:

__________________________________                                         08/26/2024
                                                                           ___________
                                                                           Date


__________________________________                                         ___________
                                                                           Date




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                                                                     United States Bankruptcy Court
                                                             Northern District of Illinois, Eastern Division
  In re      Redline Metals, Inc.                                                                           Case No.
                                                                                      Debtor(s)             Chapter    11




                                                         VERIFICATION OF CREDITOR MATRIX

                                                                                            Number of Creditors:                                 128




             The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
             (our) knowledge.




 Date:         August 27, 2024                                             /s/ David Wong
                                                                           David Wong/President
                                                                           Signer/Title




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                         2A :Logistics
                         1906 Riedmiller Ave.
                         Fort Wayne, IN 46801


                         631821 Target Metal Blanking
                         P.O. Box 63182
                         Cincinnati, OH 45263


                         Abest Scale Company
                         P.O. Box 3735
                         Lisle, IL 60532


                         Airgas USA, LLC
                         P.O. Box 734445
                         Chicago, IL 60673-4445


                         AIS, Inc.
                         1815 S. Meyers Road Suite 820
                         Villa Park, IL 60181


                         Alliance Pension Consultants, LLC
                         1751 Lake Cook Road Suite 400
                         Deerfield, IL 60015


                         Altorfer CAT
                         301 S. Mitchell Ct.
                         Addison, IL 60101


                         Altorfer Industiries
                         P.O. Box 809239
                         Chicago, IL 60680


                         American Express
                         P.O. Box 0001
                         Los Angeles, CA 90096-8000


                         American Hydaulics Inc.
                         P.O. Box 254
                         Muskego, WI 53150


                         Anthony Crocilla
                         C/O TImothy J. Keiser
                         GWC Injury Lawyers LLC 111 E Wacker Dr S
                         Chicago, IL 60601


                         Avenue Logistics
                         P.O. Box 7410491
                         Chicago, IL 60674


                         B & B Metal Processing
                         14520 Pioneer Road
                         Newton, WI 53063


                         B2B Industrial Packaging
                         313 S. Rohlwing Road
                         Addison, IL 60101
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                         Better Business Bureau
                         121 W. Wacker Drive Suite 2000
                         Chicago, IL 60601


                         Blade Core
                         155 Main Street
                         Superior, WI 54880


                         Blades Machinery Co.
                         750 Nicholas Blvd.
                         Elk Grove Village, IL 60007


                         BMW Financial
                         P.O. Box 9001065
                         Louisville, KY 40290


                         BMW FInancial
                         P.O Box 9001065
                         Louisville, KY 40290


                         BMW Financial Services
                         P.O. Box 9001065
                         Louisville, KY 40290


                         Burke & Handley
                         799 Roosevelt Road Building 6 Suite 108
                         Glen Ellyn, IL 60137


                         Capstone Logistics
                         P.O Box 74008032
                         Chicago, IL 60674


                         CD Terminal LLC
                         978 Riverview Drive
                         Winona, MN 55987


                         CE Rentals
                         441 W Lake St.
                         Elmhurst, IL 60126


                         Charter Steel Trading
                         4401 W. Roosevelt Road
                         Chicago, IL 60624


                         Chase
                         Cardmember Services PO Box 1423
                         Charlotte, NC 28201-1423


                         Chicago Industrial
                         6250 N. River Road #60252
                         Des Plaines, IL 60018


                         Chicago Industrial TT, LLC
                         c/o Stream Realty Partner, LP
                         6250 N River Road, Suite 6025
                         Rosemont, IL 60018
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                         Combined Resources, Inc.
                         1750 W. Fullerton Ave
                         Addison, IL 60101


                         Company Wrench, Ltd
                         PO Box 5068
                         Greensburg, PA 15601-5058


                         Constellation Newenergy, INC.
                         PO Box 4640
                         Carol Stream, IL 60197-4640


                         Cooler Logistics LLC
                         820 W Jackson Blvd, Suite 490
                         Chicago, IL 60607


                         Countrywide Transportaion, Inc
                         211 W Chicago Ave Suite 219
                         Hinsdale, IL 60521


                         Coyote Logistics LLC
                         PO Box 742636
                         Atlanta, GA 30374-2636


                         CR 1255 Gilford, LLC
                         C/O Megan McGillivary
                         205 West Randolph Suite 2300
                         Chicago, IL 60606


                         CR Realty Partners
                         565 Green Bay
                         Highland Park, IL 60035


                         Cream City Scale LLC
                         4300 N Bell School Rd.
                         Loves Park, IL 61111


                         Cynthia Wong-Williams
                         303 Collen Dr.
                         Lombard, IL 60148


                         D.W. Nelson Enterprises, Inc.
                         23W636 Saint Charles Rd
                         Carol Stream, IL 60188


                         David F. Wong
                         1370 Quarter Horse Ct.
                         Wheaton, IL 60189


                         David Wong


                         Davis BanCorp
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                         DC Tricore, Inc.
                         1414 Jacobson Drive
                         Waukegan, IL 60085


                         Delage Landen
                         1111 Old Eagle School
                         Wayne, PA 19087


                         Delta Metal Craft
                         241 Covington Drive
                         Bloomingdale, IL 60108


                         Detection Systems
                         1035 Havens Court
                         Downers Grove, IL 60515


                         Discover Business Card
                         PO Box 6103
                         Carol Stream, IL 60197-6103


                         DLL Financial Solutions Partner
                         PO Box 824018
                         Philadelphia, PA 19182


                         Don A. Brown, Clerk
                         Illinois Pollution Control Board
                         60 E. Van Buren St., Ste. 630
                         Chicago, IL 60605


                         eCapital Freight Factoring c/o Dragonhaw
                         PO Box 206773
                         Dallas, TX 75320-6773


                         Equipment Depot
                         PO Box 855915
                         Minneapolis, MN 55485-5915


                         Euler Hermes Services NA LLC
                         c/o Finance Department
                         100 International Drive, 22nd Floor
                         Baltimore, MD 21202


                         Eyewitness Acquisition LLC
                         DBA Stealth Monitoring PO Box 75249
                         Chicago, IL 60675-5249


                         Ferrous Processing & Trading
                         Attn: Accounts Receivable
                         3400 E. Lafayette
                         Detroit, MI 48207


                         First Star Logistics, Inc
                         P.O. Box 912394
                         Denver, CO 80291-2394
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                         Fortis Metal Manangement
                         3800 Maper St. Suite 380
                         Dallas, TX 75219


                         Fox valley Shooting Range
                         780 S. McLean Blvd
                         Elgin, IL 60123


                         Garduno'S Logistics
                         6721 W. 85th St.
                         Burbank, IL 60459


                         GFL Enviromental Services, USA, Inc.
                         18927 Hickory Creek Dr. STE 200
                         Mokena, IL 60448


                         Gilbert Trucking, LLC
                         PO Box 537
                         Joliet, IL 60434


                         IGT Logistics Inc
                         PO BOX 94565
                         Cleveland, OH 44101


                         Illinois Attorney General
                         500 South Second Street
                         Springfield, IL 62701


                         Illinois Department of Employ Sec
                         P.O. Box 19300
                         Springfield, IL 62794


                         Illinois Department of Employment Securi
                         33 S State St BPC 8th FL
                         Chicago, IL 60603


                         Illinois Department of Revenue
                         P.O. Box 19035
                         Springfield, IL 62794


                         IMS Buhrke-Olson
                         511 W. Algonquin Road
                         Arlington Heights, IL 60005-4499


                         IMS Engineered Products
                         1 Innovation Dr.
                         Des Plaines, IL 60016


                         Infinity Financial
                         P.O. Box 740596
                         Cincinnati, OH 45274


                         Integrity Express Logistics
                         62488 Collections Center Drive
                         Chicago, IL 60693
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                         Internal Revenue Service
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         J.C. Hose & Tube
                         236 S. LaLonde Ave
                         Addison, IL 60101


                         Jeffrey J. Liotta
                         13485 Bishops Drive Suite 300
                         Brookfield, WI 53005


                         Joseph A. Wyly, Esq
                         15182 Marsh Ln
                         Addison, TX 75001


                         Kurt Carlson
                         Carlson Dash
                         216 S. Jefferson Street, Suite 303
                         Chicago, IL 60661


                         Kurt Carlson
                         216 S. Jefferson Street, Suite 303
                         Chicago, IL 60601


                         Laser Center
                         1001 Morse Ave
                         Schaumburg, IL 60193


                         Lechner Services
                         420 Kingston Court
                         Mount Prospect, IL 60056


                         Longship
                         P.O. Box 2220
                         Lexington, KY 40588


                         M & K National Lease
                         P.O. Box 268
                         Byron Center, MI 49315


                         M&K National Lease
                         P.O. Box 268
                         Byron Center, MI 49315


                         Mackie Consultants
                         9575 W. Higgins Road, Suite 500
                         Rosemont, IL 60018


                         Maximum Towing & Recovery
                         5300 W Lake St
                         Melrose Park, IL 60160
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                         McLean - Fogg Component Solutions LLC
                         C/O FactorLaw
                         105 W. Madison St., Suite 2300
                         Chicago, IL 60602


                         National Grid
                         4651 Crossroads Park Drive
                         Liverpool, NY 13088


                         Nicor
                         PO Box 5407
                         Carol Stream, IL 60197-5407


                         Oberg Freight
                         22153 Old Highway 169
                         Fort Dodge, IA 50501


                         Occupational Health Centers of Illinois
                         P.O. Box 488
                         Lombard, IL 60148-0488


                         ODM Tool & Manufacturing
                         9550 Joliet Road
                         McCook, IL 60525


                         Old Second National Bank
                         Attention: Loan Servicing 1st Floor NOE
                         37 S River St.
                         Aurora, IL 60506


                         Old Second National Bank
                         37 N. River Street
                         Aurora, IL 60506


                         Old Second National Bank
                         711 S. Westmore/Meyers Road
                         Lombard, IL 60148


                         OTR Transportation
                         7 Easton Oval
                         Columbus, OH 43260


                         Packaging Personified
                         246 Kehoe Blvd
                         Carol Stream, IL 60188


                         Panzerz Recycling
                         W5865 County Line Road
                         Elkhart Lake, WI 53020


                         Pomp's Tire Service, Inc.
                         P.O. Box 88697
                         Milwaukee, WI 53288-8697
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                         Porsche
                         75 Remittance Dr. #1738
                         Chicago, IL 60675


                         Priority-1, Inc.
                         PO Box 840808
                         Dallas, TX 75284-0808


                         R&R Express
                         P O Box 72124
                         Cleveland, OH 44192


                         Rathje Woodward, LLC
                         300 East Roosevelt Road Suite 300
                         Wheaton, IL 60187


                         Richard Williams
                         303 Collen Drive
                         Lombard, IL 60148


                         RKG
                         515, Al Khaleej Center Bur
                         Dubai, Dubai


                         Roland Machinery CO. NW 7899,
                         P.O. Box 1450
                         Minneapolis, MN 55485-7899


                         Royce Corporation
                         20900 NE 30th Avenue Suite 915
                         Miami, FL 33180


                         RTTR Truck Center
                         449 Randy Rd
                         Carol Stream, IL 60188


                         Ryder Transportation Services
                         P.O. Box 96723
                         Chicago, IL 60693-6723


                         Schneider National, Inc
                         2567 Paysphere Circle
                         Chicago, IL 60674


                         Semblex Corporation
                         900 N. Church Road
                         Elmhurst, IL 60126


                         Silgan Containers LLC
                         3709 Collections Center Drive
                         Chicago, IL 60693


                         Silgan Containers LLC - 115
                         3709 Collections Center Drive
                         Chicago, IL 60693
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                         Southland
                         Po Box 150924
                         Ogden, UT 84415


                         SPI Staffing
                         14 Congress Circle
                         Roselle, IL 60172


                         Stanley Lande & Hunter
                         201 West Second Street, Suite 1000
                         Davenport, IA 52801


                         Star Line Freight
                         PO BOX 510744
                         New Berlin, WI 53151-0410


                         Stateline Recycling, Inc.
                         322 S. Crosby Ave
                         Janesville, WI 53548


                         Sterig Hydraulics
                         150 Tyler Creek Plaza
                         Elgin, IL 60123


                         Sycamore Creek Trucking
                         3009 Wisconsin St.
                         Le Claire, IA 52753


                         Town Trucking Co
                         4538 Lawndale Ave
                         Lyons, IL 60534


                         TRM Trucking
                         800 Bowes Rd
                         South Elgin, IL 60177


                         TSB Metal Recycling LLC
                         28804 Network Place
                         Chicago, IL 60673-1288


                         Uline Attn: Accounts Payable
                         PO BOX 88741
                         Chicago, IL 60680-1741


                         United States Attorney
                         219 S. Dearborn Street
                         Chicago, IL 60604


                         VFG
                         P.O. Box 100
                         Memphis, TN 38148


                         Vision Financial Group
                         PO Box 1000 Dept # 0065
                         Memphis, TN 38148-0065
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                         Warren Oil Co. Inc
                         PO Box 2279
                         Hammond, IN 46323


                         Waste Management
                         P.O. Box 4648
                         Carol Stream, IL 60197-4648


                         Wastebuilt Enviromental Solutions
                         PO Box 75152
                         Chicago, IL 60675-7515


                         Wonderland Tire Company
                         1550 Huntington Dr.
                         Calumet City, IL 60409


                         Zeeland Freight Services, LLC
                         PO Box 290
                         Zeeland, MI 49464
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